Case 9:12-cr-80054-RLR Document 91 Entered on FLSD Docket 06/11/2012 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          Case No. 12-80054-CR-ZLOCH/ROSENBAUM


  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.

  BRENDA CHARLESTAIN,

                         Defendant.
                                          /


                                                ORDER

         This matter is before the Court on Defendant Brenda Charlestain’s Memo of Supplemental

  Argument and Case Law in Support of Motion to Sever Counts [D.E. 90]. In her Memo, Defendant

  asserts that “the government has crafted an Indictment which could in essence force the defendant

  to take the Fifth Amendment before the jury on the two superseding counts, 9 and 10.” D.E. 90 at

  ¶ 1. The Court understands Defendant to argue that she has “important testimony to give concerning

  one count and [a] strong need to refrain from testifying on [another].” United States v. Benz, 740

  F.2d 903, 911 (11th Cir. 1984) (quoting United States v. Forrest, 623 F.2d 1107, 1115 (5th Cir.), cert.

  denied, 449 U.S. 924 (1980) (citation omitted)) (internal quotation marks omitted).              More

  specifically, the Court construes Defendant’s Memo of Supplemental Authority to contend that she

  expects to testify on Counts 1 through 4 of the Superseding Indictment but wishes to remain silent

  on Counts 9 and 10 of the Superseding Indictment.

         Defendant’s Memo of Supplemental Argument, however, does “no more than express a

  generalized desire to testify as to some counts but not others. [She has] not indicated what [she]
Case 9:12-cr-80054-RLR Document 91 Entered on FLSD Docket 06/11/2012 Page 2 of 2




  would have testified to, and whether such testimony would have been of any particular importance

  . . . .” United States v. Corbin, 734 F.2d 643, 649 (11th Cir. 1984). Under these circumstances,

  Defendant has not demonstrated the requisite “compelling prejudice” requiring severance. See id.

         To avoid a situation where Defendant does not make the necessary showing until after trial

  has already begun, thereby possibly requiring a new trial, however, the Court directs Defendant to

  specify precisely what “important testimony” she has to give regarding Counts 1 through 4 and what

  her strong need to refrain from testimony on Counts 9 and 10 is, if she wishes to continue with her

  Motion to Sever. In this way, the Court can conduct the proper analysis under Rule 14. Defendant

  shall provide her response by Wednesday, June 13, 2012. Should the Government desire to

  respond, it may do so by Friday, June 15, 2012.

         DONE AND ORDERED this 11th day of June 2012.




                                                        ROBIN S. ROSENBAUM

  cc:    The Honorable William J. Zloch
         Counsel of Record




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